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    Counsel to the Debtors
    and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                   Chapter 11

JPA NO. 111 CO., LTD. and                                Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                         (Jointly Administered)
                            Debtors. 1


       NOTICE OF EXECUTORY CONTRACTS WHICH THE DEBTORS HAVE
     DETERMINED NOT TO ASSUME IN CONNECTION WITH PROPOSED SALE

     PARTIES RECEIVING THIS NOTICE SHOULD LOCATE THEIR NAMES AND
            CONTRACTS IN EXHIBITS A AND B ATTACHED HERETO


              JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd, as debtors and debtors in
possession (the “Debtors”) in the above-captioned cases (the “Chapter 11 Cases”), are
seeking to sell substantially all of the Debtors’ assets (together, and as more particularly
described in the Stalking Horse Purchase Agreements (as defined below), the
“Purchased Assets”), pursuant to a motion, dated December 31, 2021 [Docket No. 21]
(the “Bidding Procedures and Sale Motion”).

             By order, dated February 4, 2022 [Docket No. 101] (as corrected by order
dated February 7, 2022 [Docket No. 102], the “Bidding Procedures Order”), the United
States Bankruptcy Court for the Southern District of New York (the “Bankruptcy
Court”) approved certain bidding and sale procedures for the Debtors’ proposed
marketing and sale (the “Sale”) of the Purchased Assets.




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       The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
       Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
       Chiyoda-Ku, Tokyo 100-0013.
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               On February 9, 2022, the Debtors filed the Notice of Proposed Assumption
and Assignment of Certain Executory Contracts in Connection with Proposed Sale (the “Cure
Notice”) [Docket No. 104] providing notice of certain executory contracts or unexpired
leases of the Debtors that may be assumed and assigned in connection with the Sale.

             The Debtors hereby provide notice that they have determined not to
assume and assign those executory contracts or unexpired leases listed on Exhibit A
attached hereto in connection with the Sale.

              For the avoidance of doubt, any contracts or leases set forth on the Cure
Notice that are not set forth on Exhibit A hereto will be assumed and assigned in
connection with the Sale. For the sake of clarity, attached hereto as Exhibit B is a list of
those contracts and leases. The Debtors reserve all rights, including to amend,
supplement, or modify the lists attached hereto.

                Copies of the Motion, the Bidding Procedures Order, and all other
documents and pleadings referenced in this notice or pertaining to these Chapter 11
Cases can be viewed and/or obtained by (i) accessing the Bankruptcy Court’s website
for a fee, or (ii) by contacting the Office of the Clerk of the Bankruptcy Court. Please
note that a PACER password is required to access documents on the Bankruptcy
Court’s website.

Dated: March 12, 2022
       New York New York                   JPA NO. 111 CO., LTD. and
                                           JPA NO. 49 CO., LTD.
                                           Debtors and Debtors in Possession
                                           By their Counsel
                                           TOGUT, SEGAL & SEGAL LLP
                                           By:


                                           /s/ Kyle J. Ortiz
                                           Kyle J. Ortiz
                                           Bryan M. Kotliar
                                           Amanda C. Glaubach
                                           Eitan E. Blander
                                           One Penn Plaza, Suite 3335
                                           New York, New York 10119
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                               EXHIBIT “A”
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                                                             Exhibit A

                                              Contracts Determined Not to Be Assumed
Counterparty          Debtor    Address                                    Contract Name                              Date
JP Lease Products &   JPA 111   Kasumigaseeki                              Lease Management and Marketing Agreement   11/20/18
Services Co., Ltd.              Common Gate, West Tower 21F
                                3-2-1 Kasumigaseeki, Chiyoda-Ku, Tokyo,
                                Japan
JP Lease Products &   JPA 49    Kasumigaseeki                              Lease Management and Marketing Agreement   12/29/17
Services Co., Ltd.              Common Gate, West Tower 21F
                                3-2-1 Kasumigaseeki, Chiyoda-Ku, Tokyo,
                                Japan
Tokyo Sogo            JPA 111   7-20 Yaesu 1-chome                         Accounting Agreement                       12/15/17
Accounting & Co.                Chuo-ku, Tokyo, Japan
Tokyo Sogo            JPA 49    7-20 Yaesu 1-chome                         Accounting Agreement                       8/31/17
Accounting & Co.                Chuo-ku, Tokyo, Japan
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                               EXHIBIT “B”
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                                                                Exhibit B

                                                           Remaining Contracts
Counterparty           Debtor    Address                                       Contract Name                                  Date
Airbus SAS.            JPA 111   1, rand-point Maurice Bellonte, 31707 Blagnac Airframe Warranties Agreement In Respect Of    12/26/16
                                 Cedex - France                                One A350-900 XWB Aircraft Bearing
                                                                               Manufacturer's Serial Number 0067
Airbus SAS.            JPA 49    1, rand-point Maurice Bellonte, 31707 Blagnac Airframe Warranties Agreement In Respect Of    12/29/17
                                 Cedex - France                                One A350-941 Aircraft Bearing Manufacturer's
                                                                               Serial Number 173
Credit Agricole        JPA 111   12 Place des Etats Unis, CS 70052, 92547,       Engine Warranty Agreement                    11/21/18
Corporate and                    Montrouge, Cedex, France
Investment Bank

DAE Leasing            JPA 111   29 Main Street, Cashel, Co. Tipperary E25       Engine Warranty Agreement                    11/21/18
(Ireland) 12                     RF76, Ireland
DAE Leasing            JPA 111   29 Main Street, Cashel, Co. Tipperary E25   Deed Of Security Agreement In Respect Of One     11/21/18
(Ireland) 12 Limited             RF76                                        (1) Airbus A350-900 Aircraft Bearing
                                                                             Manufacturer's Serial Number 67
PAAL Uranus            JPA 49    2 Grand Canal Square, Grand Canal, Harbour, Engine Warranty Agreement                        12/29/17
Company Limited                  Dublin 2, Ireland
PAAL Uranus            JPA 49    2 Grand Canal Square, Grand Canal, Harbour, Deed Of Security Agreement In Respect Of One     12/29/17
Company Limited                  Dublin 2, Ireland                           (1) Airbus A350-941 Aircraft Bearing
                                                                             Manufacturer's Serial Number 173
Rolls-Royce Plc        JPA 111   62 Buckingham Gate, London, SW1E 6AT,       Engine Warranty Agreement                        11/21/18
                                 England
Rolls-Royce Plc        JPA 49    62 Buckingham Gate, London, SW1E 6AT,       Engine Warranty Agreement                        12/29/17
                                 England
Vietnam Airlines JSC JPA 111     200 Nguyen Son, Bo De Ward, Long Bien       Engine Warranty Agreement                        11/21/18
                                 District, Hanoi City, Vietnam
Vietnam Airlines JSC JPA 49      200 Nguyen Son, Bo De Ward, Long Bien       Engine Warranty Agreement                        12/29/17
